          Case 1:20-cr-00278-TNM Document 54 Filed 12/06/21 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 1:20-cr-00278-TNM
               v.                             :
                                              :
KEITH BERMAN,                                 :
                                              :
                       Defendant.             :


                             JOINT STATEMENT OF THE CASE

       This is a criminal case. Keith Berman is the defendant. He is charged with four federal

crimes: securities fraud, wire fraud, obstruction of agency proceedings, and making a false

statement. The indictment is merely an allegation, and the defendant is presumed innocent until

proven guilty of all the charges in the indictment.

       The defendant was the sole officer and director of a company called Decision Diagnostics

Corp. that is in the business of developing, manufacturing, and distributing glucose test strips and

meters. The indictment alleges that, in the spring of 2020, the defendant devised and perpetrated a

scheme to increase the price of his company’s stock and raise money by falsely representing to

investors that his company had successfully developed a blood test for the COVID-19 virus. The

indictment alleges that the defendant falsely told investors that the test could detect the virus in a

finger-prick sample of blood, when he knew that, in reality, the test was merely still an idea and

had not been developed.

       The indictment also alleges that, when the defendant learned that the United States

Securities and Exchange Commission (“SEC”) was investigating his statements about his

company’s development of a COVID-19 blood test, he attempted to obstruct that investigation and
         Case 1:20-cr-00278-TNM Document 54 Filed 12/06/21 Page 2 of 2



also made a false statement to the SEC.

       The defendant has pleaded not guilty to all charges.
